         Case 2:96-cr-00350-WBS-AC Document 704 Filed 03/05/07 Page 1 of 6




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7
8                   IN THE UNITED STATES DISTRICT COURT FOR THE
9                         EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )       2:96-CR-00350-WBS
                                      )
12             Plaintiff,             )       STIPULATION FOR EXPEDITED
                                      )       SETTLEMENT AGREEMENT
13        v.                          )       AND ORDER THEREON
                                      )
14   HUY CHI LUONG,                   )
          aka "Jimmy Luong",          )
15        aka "Chi Fei", et al.       )
                                      )
16             Defendants.            )
                                      )
17                                    )
     WORLD SAVINGS BANK, FSB,         )
18                                    )
               Petitioner.            )
19                                    )
20        IT IS HEREBY STIPULATED by and between plaintiff United States
21   of America and petitioner World Savings Bank, FSB to compromise and
22   settle its interest in the following property (hereafter, the
23   "Property"):
24             Real property located in Sacramento County at
               7825 Skander Way, Sacramento, California,
25             Assessor’s Parcel Number 051-0383-030-00 and
               more fully described as:
26
               The real property situated in the State of
27             California, County of Sacramento, unincorporated
               area, described as follows:
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         Case 2:96-cr-00350-WBS-AC Document 704 Filed 03/05/07 Page 2 of 6




1               Lot 214 of Scottsdale Unit No. 2, according to
                the official plat thereof, filed in the office
2               of the Recorder of Sacramento County,
                California, on February 7, 1973, in Book 92 of
3               Maps, Map No. 18.
4         This stipulated settlement is entered into between the parties
5    pursuant to the following terms:
6         1.   The parties to this Agreement hereby stipulate that World
7    Savings Bank, FSB had a prior vested or superior interest in the
8    Property or was a bona fide purchaser for value of the right, title,
9    or interest in the Property.
10        2.   The United States agrees that upon entry of a Final Order
11   of Forfeiture forfeiting the Property to the United States and sale
12   of the Property pursuant to the Final Order of Forfeiture, the
13   United States will not contest payment to World Savings Bank, FSB
14   from the proceeds of sale, after payment of outstanding taxes and
15   expenses incurred by the U.S. Marshals Service in connection with
16   its custody and sale of the Property, of the following:
17              a.   All unpaid principal due to the Petitioner under
18                   the Deed of Trust recorded in Sacramento County,
19                   California, as instrument number 199508080717,
20                   and dated August 1, 1995 and recorded on August
21                   8, 1995.   Said Deed of Trust secured a
22                   promissory note in the original amount of
23                   $35,000.00 dated August 1, 1995.       As of January
24                   17, 2007, the principal balance due and owing on
25                   the Note was $23,093.40, together with accrued
26                   interest, including, but not limited to,
27                   insurance premiums and property taxes, if any,
28                   advanced under the terms of the Deed of Trust.

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         Case 2:96-cr-00350-WBS-AC Document 704 Filed 03/05/07 Page 3 of 6




1               b.   All unpaid interest at the contractual base rate (not
2                    the default rate) under the above Deed of Trust, as
3                    of January 17, 2007 interest is 6.996% per annum,
4                    until the date of payment.
5               c.   Reasonable attorney's fees not to exceed $2,000.00.
6               d.   A total fee of not more than $200 to process a
7                    beneficiary demand statement and to record a
8                    reconveyance of the deed of trust.
9               e.   The exact amount to be paid to World Savings Bank,
10                   FSB shall be determined at the time of payment, but
11                   shall not be less than the amounts set forth above.
12        3.   The payment to Petitioner World Savings Bank, FSB shall be
13   in full settlement and satisfaction of all claims by World Savings
14   Bank, FSB to the Property indicted by the United States on or about
15   August 2, 1996 and of all claims arising from and relating to the
16   seizure, detention, and forfeiture of the Property.         The payment to
17   World Savings Bank, FSB shall not include any penalty payments,
18   including any prepayment penalties.
19        4.   Upon payment, World Savings Bank, FSB agrees to assign and
20   convey its security interest to the United States via recordable
21   documents and to release and hold harmless the United States, and
22   any agents, servants, and employees of the United States (and any
23   involved state or local law enforcement agencies and their agents,
24   servants, or employees), in their individual or official capacities,
25   from any and all claims by World Savings Bank, FSB and its agents
26   that currently exist or that may arise as a result of the
27   Government’s actions against and relating to the Property.          As
28   against the United States and its agents, Petitioner World Savings

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         Case 2:96-cr-00350-WBS-AC Document 704 Filed 03/05/07 Page 4 of 6




1    Bank, FSB agrees to waive the provisions of California Civil Code §
2    1542, which provides: "A general release does not extend to claims
3    which the creditor does not know or suspect to exist in his favor at
4    the time of executing the release, which if known by him must have
5    materially affected his settlement with the debtor."
6         5.   Petitioner World Savings Bank, FSB agrees not to pursue
7    against the United States any other rights that it may have under
8    the mortgage instrument, including but not limited to the right to
9    foreclose upon and sell the Property during the pendency of this
10   proceeding or any post-forfeiture proceeding relating to the
11   marketing and sale of the property, and any right to assess
12   additional interest or penalties except as specifically allowed
13   herein.
14        6.   Petitioner understands and agrees that by entering into
15   this expedited settlement of its interest in the Property, it waives
16   any rights to litigate further its interest in the Property and to
17   petition for remission or mitigation of the forfeiture.         Thereafter,
18   if this Agreement is approved by the Court, then unless specifically
19   directed by an order of the Court, World Savings Bank, FSB shall be
20   excused and relieved from further participation in this action.
21        7.   Petitioner understands and agrees that the United States
22   reserves the right to void the expedited settlement agreement if,
23   before payment of the mortgage or lien, the U.S. Attorney obtains
24   new information indicating that the mortgagee or lien holder is not
25   an "innocent owner" or "bona fide purchaser" pursuant to the
26   applicable forfeiture statutes.      The U.S. Attorney also reserves the
27   right, in its discretion, to terminate the forfeiture at any time
28   and release the Property.     In either event, the Government shall

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         Case 2:96-cr-00350-WBS-AC Document 704 Filed 03/05/07 Page 5 of 6




1    promptly notify the mortgagee or lien holder of such action.            A
2    discretionary termination of forfeiture shall not be a basis for any
3    award of fees.
4         8.    The parties agree to execute further documents, to the
5    extent necessary, to convey clear title to the Property to the
6    United States and to implement further the terms of this settlement.
7    Each party agrees to bear its own costs and attorneys’ fees, except
8    as otherwise set forth herein.
9         9.    Payment to the Petitioner pursuant to this settlement
10   agreement is contingent upon a forfeiture of the Property to the
11   United States, the United States’ prevailing against any third
12   parties alleging claims in an ancillary proceeding, and the Court’s
13   entry of a Final Order of Forfeiture.       Further, the terms of this
14   settlement agreement shall be subject to approval by the United
15   States District Court.    Violation of any term or condition herein
16   shall be construed as a violation of an order of the Court.
17        10.   Counsel for World Savings Bank, FSB represents that she
18   has authority to enter into this stipulation on behalf of her
19   principal.
20   DATED: February 27, 2007                 McGREGOR W. SCOTT
                                              United States Attorney
21
22                                            /s/ William S. Wong
                                              WILLIAM S. WONG
23                                            Assistant U.S. Attorney
24
25   DATED: 2/26/07                           /s/ Sharon C. Dutton
                                              SHARON C. DUTTON
26                                            Attorney for World Savings Bank,
                                              FSB
27
                                              (Original signature retained by
28                                            attorney)

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         Case 2:96-cr-00350-WBS-AC Document 704 Filed 03/05/07 Page 6 of 6




1                                       ORDER
2         The Court having received, read, and considered the foregoing
3    stipulation of the parties, and good cause appearing therefrom, the
4    Stipulated Expedited Settlement is hereby APPROVED.         It is so
5    ORDERED.
6    DATED:   February 28, 2007
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